          Case 01-01139-AMC          Doc 27771-7     Filed 10/17/11     Page 1 of 24



                      IN THE UNITED STATES BANKRUPTCY COURT

                                FOR THE DISTRICT OF DELAWARE


In re:                                                     Chapter 11

W. R. GRACE & CO., et al.,                                 Case No. 01-01139 (JKF)
                                                           Jointly Administered
                       Debtors.

                                  CERTIFICATE OF SERVICE


               I, Kathleen P. Makowski, hereby certify that on the Iday of October 2011, I

caused a copy of the following document to be served on the individuals on the attached service

list in the manner indicated:

               NOTICE OF DEBTORS’ MOTION FOR ENTRY OF AN ORDER: (A)
               APPROVING THE FORM OF ASSET SALE AGREEMENT; (B)
               AUTHORIZING BUT NOT REQUIRING THE SALE OF CERTAIN
               VERMICULITE ASSETS FREE AND CLEAR OF ALL LIENS, CLAIMS,
               ENCUMBRANCES AND OTHER INTERESTS; (C) AUTHORIZING THE
               ASSUMPTION AND ASSIGNMENT OF EXECUTORY CONTRACTS;
               AND (D) APPROVING PROCEDURES FOR NOTICING AND
               DETERMINING CURE AMOUNTS; AND

               DEBTORS’ MOTION FOR ENTRY OF AN ORDER: (A) APPROVING
               THE FORM OF ASSET SALE AGREEMENT; (B) AUTHORIZING BUT
               NOT REQUIRING THE SALE OF CERTAIN VERMICULITE ASSETS
               FREE AND CLEAR OF ALL LIENS, CLAIMS, ENCUMBRANCES AND
               OTHER INTERESTS; (C) AUTHORIZING THE ASSUMPTION AND
               ASSIGNMENT OF EXECUTORY CONTRACTS; AND (D) APPROVING
               PROCEDURES FOR NOTICING AND DETERMINING CURE
               AMOUNTS.
          Case 01-01139-AMC           Doc 27771-7    Filed 10/17/11     Page 2 of 24



W. R. Grace 2002 Service List                       Hand Delivery
Case No. 01-1139 (JKF)                              (Counsel to Scotts Company LLC)
Doe. No. 144642                                     Robert J. Steam, Jr.
043 - Hand Delivery                                 Cory D. Kandestin, Esquire
004 - Foreign First Class                           Richards, Layton & Finger, P.A.
207 - First Class Mail                              One Rodney Square
                                                    P.O. Box 551
                                                    Wilmington, DE 19899
(Counsel to Debtors and Debtors in
Possession)                                         Hand Delivery
Laura Davis Jones, Esquire                          (Counsel to The Chase Manhattan Bank)
James E. O’Neill, Esquire                           Mark D. Collins, Esquire
Pachuiski Stang Ziehi & Jones LLP                   Deborah E. Spivack, Esquire
919 North Market Street, 17th Floor                 Richards, Layton & Finger, P.A.
Wilmington, DE 19899-8705                           One Rodney Square
                                                    P.O. Box 551
Hand Delivery                                       Wilmington, DE 19899
(Copy Service)
Parcels, Inc.                                       Hand Delivery
230 North Market Street                             (Counsel to Maryland Casualty)
P.O. Box 27                                         Jeffrey C. Wisler, Esquire
Wilmington, DE 19899                                Michelle McMahon, Esquire
                                                    Connolly Bove Lodge & Hutz LLP
Hand Delivery                                       1007 N. Orange Street
(Counsel to DIP Lender)                             P.O. Box 2207
Steven M. Yoder, Esquire                            Wilmington, DE 19899
Potter Anderson & Coroon LLP
1313 North Market Street                            Hand Delivery
Wilmington, DE 19899-0951                           (Counsel to Ingersoll-Rand Fluid Products
                                                    and State of Montana)
Hand Delivery                                       Francis A. Monaco, Jr., Esquire
(Counsel to Asbestos P1 Committee)                  Womble Carlye Sandridge & Rice LLC
Maria Eskin, Esquire                                222 Delaware Avenue, 15th Floor
Mark Hurford, Esquire                               Wilmington, DE 19801
Campbell & Levine, LLC
800 N. King Street, #300                            Hand Delivery
Wilmington, DE 19801                                (Counsel to Asbestos PD Committee)
                                                    Michael B. Joseph, Esquire
                                                    Theodore J. Tacconelli, Esquire
                                                    Ferry & Joseph, P.A.
                                                    824 Market Street, Suite 1000
                                                    P.O. Box 1351
                                                    Wilmington, DE 19899
           Case 01-01139-AMC          Doc 27771-7    Filed 10/17/11    Page 3 of 24



Hand Delivery                                       Hand Delivery
)
                                                    (Counsel to Century Indemnity Company)
Mark S. Chehi                                       Curtis Crowther, Esquire
Skadden, Arps, Slate, Meagher & Flom LLP            White and Williams LLP
One Rodney Square                                   824 North Market Street, Suite 902
P.O. Box 636                                        P.O. Box 709
Wilmington, DE 19899-0636                           Wilmington, DE 19801

Hand Delivery                                       Hand Delivery
(Counsel to Official Committee of                   (Counsel to First Union Leasing)
Unsecured Creditors)                                John D. Demmy, Esquire
Michael R. Lastowski, Esquire                       Stevens & Lee, P.C.
Duane, Morris & Heckscher LLP                       1105 N. Market Street, Suite 700
222 Delaware Ave, 16 1h Floor                       Wilmington, DE 19801-1270
Wilmington, DE 19801-1246
                                                    Hand Delivery
Hand Delivery                                       (Counsel to Mark Hankin and HanMar
)                                                   Associates, Fireman’s Fund Insurance Co.)
Laurie Selber Silverstein, Esquire                  Thomas G. Whalen, Esquire
Potter Anderson & Corroon LLP                       Stevens & Lee, P.C.
1313 N. Market Street, 6th Floor                    1105 N. Market Street, 7th Floor
P.O. Box 951                                        Wilmington, DE 19801
Wilmington, DE 19899
                                                    Hand Delivery
Hand Delivery                                       (Counsel to Equity Committee)
(United States Trustee)                             Teresa K.D. Currier, Esquire
David Klauder, Esquire                              Saul Ewing
Office of the United States Trustee                 222 Delaware Avenue, Suite 1200
844 King Street, Suite 2207                         P.O. Box 1266
Wilmington, DE 19801                                Wilmington, DE 19899

Hand Delivery                                       Hand Delivery
(Counsel for Reaud, Morgan & Quinn, Inc.            (Counsel to Union Tank Car Company and
and Environmental Litigation Group, PC)             Samson)
Kathleen Miller, Esquire                            Rachel B. Mersky, Esquire
Smith, Katzenstein & Jenkins LLP                    Monzack Monaco McLaughlin and Browder
800 Delaware Avenue, Suite 1000                     1201 N. Orange Street, Suite 400
P.O. Box 410                                        Wilmington, DE 19801
Wilmington, DE 19899
                                                    Hand Delivery
                                                    (Counsel to The Delaware Division of
                                                    Revenue)
                                                    Allison E. Reardon
                                                    Delaware Division of Revenue
                                                    820 N. French Street, 8th Floor
                                                    Wilmington, DE 19801
           Case 01-01139-AMC        Doc 27771-7     Filed 10/17/11         Page 4 of 24




Hand Delivery                                     Hand Delivery
(Counsel to the Libby Mine Claimants)             (Counsel to Everest Reinsurance Company
Steven K. Kortanek, Esquire                       and Mt. McKinley Insurance Company)
Klehr, Harrison, Harvey, Branzburg &              Brian L. Kasprzak, Esquire
Ellers, LLP                                       Marks, O’Neill, O’Brien and Courtney, P.C.
919 Market Street, Suite 1000                     300 Delaware Avenue, Suite 900
Wilmington, DE 19801                              Wilmington, DE 19801

Hand Delivery                                     Hand Delivery
(L.A. Unified School District)                    (Counsel to American Employers Insurance Co, Employers
                                                  Commercial Union n/k/a OneBeacon America Insurance
William F. Taylor, Jr., Esquire                   Co and Unigard Insurance Co)
McCarter & English, LLP                           Joseph N. Argentina, Esquire
Renaissance Centre                                Drinker Biddle & Reath LLP
405 N. King Street, 8th Floor                     1100 North Market Street, Suite 1000
Wilmington, Delaware 19899                        Wilmington, DE 19801-1254
Hand Delivery                                     Hand Delivery
(Counsel for David T. Austern)                    (Counsel to Anderson Memorial Hospital)
John C. Phillips, Jr., Esquire                    Christopher D. Loizides, Esquire
Phillips, Goldman & Spence, P.A.                  Loizides & Associates
1200 North Broom Street                           Legal Arts Bldg.
Wilmington, DE 19806                              1225 King Street, Suite 800
                                                  Wilmington, DE 19801
Hand Delivery
(Counsel to Libby Claimants)                      Hand Delivery
Adam G. Landis, Esquire                           (Counsel to PacifiCorp)
Kerri K. Mumford, Esquire                         Richard S. Cobb, Esquire
Landis Rath & Cobb LLP                            Megan N. Harper, Esquire
919 Market Street, Suite 1800                     Landis Rath & Cobb LLP
Wilmington, DE 19801                              919 Market Street, Suite 1800
                                                  Wilmington, DE 19801
Hand Delivery
(Counsel to Representative Counsel to             Hand Delivery
Canadian ZAT Claimants)                           (Counsel to CNA Financial Corporation)
Daniel K. Hogan, Esquire                          Cannella P. Keener, Esquire
The Hogan Firm                                    Rosenthal, Monhait, Gross & Goddess, P.A.
1311 Delaware Avenue                              919 Market Street, Suite 1401
Wilmington, DE 19806                              P.O. Box 1070
                                                  Wilmington, DE 19899-1070
Hand Delivery
(Counsel to Allstate Insurance Company)
James S. Yoder, Esquire
White and Williams LLP
824 Market Street, Suite 902
Wilmington, DE 19899-0709
           Case 01-01139-AMC            Doc 27771-7    Filed 10/17/11    Page 5 of 24




Hand Delivery                                         Hand Delivery
(Counsel to State of California, Dept. of
General Svcs)                                         Robert Jacobs, Esquire
Tobey M. Daluz, Esquire                               Maria Rosoff Eskin
Leslie C. Heilman, Esquire                            Jacobs & Crumplar, P.A.
Ballard Spahr Andrews & Ingersoll, LLP                2 East 7th Street
919 N. Market Street, 11th Floor                      P.O. Box 1271
Wilmington, DE 19801                                  Wilmington, DE 19899

Hand Delivery                                         Hand Delivery
(Counsel to Sealed Air Corporation)                   (Counsel to Macerich Fresno LP)
Mark S. Chehi, Esquire                                William P. Bowden, Esquire
Skadden, Arps, Slate, Meagher & Flom LLP              Amanda M. Winfree, Esquire
One Rodney Square                                     Ashby & Geddes, P.A.
P.O. Box 636                                          500 Delaware Avenue, 8th Floor
Wilmington, DE 19899-0636                             Wilmington, DE 19899

Hand Delivery                                         Hand Delivery
(Counsel to Zonolite Attic Litigation                 (Counsel to PDFCR)
Plaintiffs and Gamma Holding, NV)                     Karl Hill, Esquire
William D. Sullivan, Esquire                          Seitz, Van Ogtrop & Green, P.A.
Sullivan Hazeltine Allison LLC                        222 Delaware Avenue, Suite 1500
901 N. Market St. 13th floor                          P.O. Box 68
Wilmington, DE 19801                                  Wilmington, DE 19899

Hand Delivery                                         Hand Delivery
(Counsel to Gloria Munoz)                             (Counsel to Arrowood Indemnity, U.S. Fire
Elihu E. Allinson, III, Esquire                       Insurance, Royal Insurance)
Sullivan Hazeltine Allison LLC                        Ian Connor Bifferato, Esquire
901 N. Market St. 13th floor                          Garvan F. McDaniel, Esquire
Wilmington, DE 19801                                  Bifferato LLC
                                                      800 King Street, First Floor
Hand Delivery                                         P.O. Box 2165
(Attorneys for PPG Industries, Inc.)                  Wilmington, DE 19899-2165
William M. Aukamp, Esquire
Archer & Greiner                                      Hand Delivery
300 Delaware Avenue, Suite 1370                       (Counsel to Federal Insurance Co.)
Wilmington, DE 19801                                  Barry M. Klayman, Esquire
                                                      Cozen O’Connor
                                                      1201 N. Market Street, Suite 1400
                                                      Wilmington, DE 19801
          Case 01-01139-AMC       Doc 27771-7       Filed 10/17/11   Page 6 of 24




Hand Delivery                                   Foreign First Class Mail
(Counsel to Mian Realty, LLC)                   (Counsel to Her Majesty the Queen in Right
Norman L. Pernick, Esquire                      of Canada as represented by The Attorney
J. Kate Stickles, Esquire                       General of Canada)
500 Delaware Avenue, Suite 1410                 Jacqueline Dais-Visca, Senior Counsel
Wilmington, DE 19801                            Business Law Section
                                                The Exchange Tower
Hand Delivery                                   King Street West 3400
(Counsel to Wausau and National Casualty)       C.P. 36
Eric Lopez Schnabel, Esquire                    Toronto, Ontario M5X 1K6
Robert W. Mallard, Esquire
Dorsey & Whitney LLP                            Foreign First Class Mail
300 Delaware Avenue, Suite 1010
Wilmington, DE 19801                            NORTEL
                                                Chris Paczynski, Analyst
Hand Delivery                                   Global Credit Management
(Counsel to Defendant BNSF Railway              195 The West Mall
Company)                                        Toronto, Ontario
Evelyn J. Meltzer, Esq.                         M9C SKi
Pepper Hamilton LLP
Hercules Plaza,Suite 5100                       First Class Mail
1313 North Market Street
P.O. Box 1709                                   Secretary of State
Wilmington, DE 19899-1709                       Division of Corporations
                                                Franchise Tax
Foreign First Class Mail                        P.O. Box 7040
(Canadian Counsel to Debtor)                    Dover, DE 19903
Derrick C. Tay
Ogilvy Renault LLP                              First Class Mail
Royal Bank Plaza, South Tower                   )


200 Bay Street, Suite 3800                      Cindy Schultz
Toronto, Ontario M5J 2Z4                        Ingersoll-Rand Fluid Products
CANADA                                          209 N. Main Street
                                                Bryan, OH 43506-1319
Foreign First Class Mail
(Counsel to Canadian ZAI Claimants)             First Class Mail
Yves Lauzon, Esquire
Michel Belanger, Esquire                        John P. Dillman, Esquire
LAUZON BELANGER, INC..                          Linebarger Heard Goggan Blair
286 Street Paul West                            Graham Peæa & Sampson, LLP
MontrØal (Quebec)                               P.O. Box 3064
H2Y 2A3                                         Houston, TX 77253-3064
          Case 01-01139-AMC        Doc 27771-7       Filed 10/17/11   Page 7 of 24




First Class Mail
(Tennessee Department of Environment and         First Class Mail
Conservation - Superfund)                        (Comptroller of Public Accounts of the State
Paul G. Sumers, Esquire                          of Texas)
TN Attorney General’s Office, Bankr. Unit        William A. Frazell, Esquire
P.O. Box 20207                                   Assistant Attorney General
Nashville, TN 37202-0207                         Bankruptcy & Collections Division
                                                 P.O. Box 12548
First Class Mail                                 Austin, TX 78711-2548
)


Danice Sims                                      First Class Mail
P.O. Box 66658                                   )


Baton Rouge, LA 70896                            General Motors Acceptance Corporation
                                                 P.O. Box 5055
First Class Mail                                 Troy, MI 48007-5055
(Counsel to Toyota Motor Credit)
Robert T. Aulgur, Jr., Esquire                   First Class Mail
P.O. Box 617                                     (Missouri Department of Revenue)
Odessa, DE 19730                                 Missouri Department of Revenue
                                                 Bankruptcy Unit
First Class Mail                                 Gary L. Barnhart
)
                                                 P.O. Box 475
Attn: Diane Stewart                              Jefferson City, MO 65105-0475
Peoples First Community Bank
P.O. Box 4019                                    First Class Mail
Gulfport, MS 39505-4019                          (Peters, Smith & Company)
                                                 Mr. Charles C. Trascher III, Esquire
First Class Mail                                 Snellings, Breard, Sartor, Inabnett &
                                                 Trascher, LLP
Steven B. Flancher, Esquire                      P.O. Box 2055
Assistant Attorney General                       Monroe, LA 71207
Department of Attorney General
Revenue and Collections Division                 First Class Mail
P.O. Box 30754                                   )


Lansing, MI 48909                                Margaret A. Holland
                                                 Deputy Attorney General
First Class Mail                                 New Jersey Attorney General’s Office
(Counsel to The Texas Comptroller of             Division of Law
Public Accounts)                                 R.J. Hughes Justice Complex
Mark Browning, Esquire                           P.O. Box 106
Assistant Attorney General                       Trenton, NJ 08625
do Sherri K. Simpson, Legal Assistant
Office of the Attorney General
Bankruptcy & Collections Division
P.O. Box 12548
Austin, TX 78711-2548
          Case 01-01139-AMC          Doc 27771-7    Filed 10/17/11    Page 8 of 24




First Class Mail                                   First Class Mail
)                                                  (Co-Counsel to Debtor)
Rachel Jeanne Lehr                                 John Donley, Esquire
Deputy Attorney General                            Adam Paul, Esquire
Office of the Attorney General                     Kirkland & Ellis LLP
R.J. Hughes Justice Complex                        300 North LaSalle
P.O. Box 093                                       Chicago, IL 60654
Trenton, NJ 08625
                                                   First Class Mail
First Class Mail                                   (Counsel to Debtor)
)                                                  Jan Baer, Esquire
Mr. Mark Hankin                                    Baer Higgins Fruchtman LLC
HanMar Associates, M.L.P.                          111 East Wacker Drive
P.O. Box 26767                                     Suite 2800
Elkins Park, PA 19027                              Chicago, IL 60601

First Class Mail                                   First Class Mail
(Counsel to the City of Knoxville)                 (W. R. Grace & Co.)
Hillary Browning-Jones                             Mark Shelnitz
Assistant City Attorney                            W.R. Grace and Co.
P.O. Box 1631                                      7500 Grace Drive
Knoxville, TN 37901                                Columbia, MD 21044

First Class Mail                                   First Class Mail
)                                                  (Counsel to Asbestos P1 Committee)
Xerox Capital Services, LLC                        Elihu Inselbuch, Esquire
P.O. Box 660502                                    Rita Tobin, Esquire
Dallas, TX 75266-0502                              Caplin & Drysdale, Chartered
                                                   375 Park Avenue, 35th Floor
First Class Mail                                   New York, NY 10152-3500

Trade-Debt.Net                                     First Class Mail
2 Stamford Plaza #1501                             (Official Committee of Unsecured
Stamford, CT 06901-3263                            Creditors)
                                                   Lewis Kruger, Esquire
First Class Mail                                   Stroock & Stroock & Lavan LLP
(Counsel to Iowa Dept. of Revenue)                 180 Maiden Lane
John Waters, Esquire                               New York, NY 10038-4982
Iowa Department of Revenue
Collections Section                                First Class Mail
P.O. Box 10457                                     (Official Committee of Property Damage
Des Moines, IA 50306                               Claimants)
                                                   Scott L. Baena, Esquire
                                                   Bilzin Sumberg Baena Price & Axelrod LLP
                                                   200 South Biscayne Blvd, Suite 2500
                                                   Miami, FL 33131
           Case 01-01139-AMC        Doc 27771-7    Filed 10/17/11     Page 9 of 24




                                                  First Class Mail
First Class Mail                                  )
(Counsel to Equity Committee)                     James D. Freeman
Philip Bentley, Esquire                           Jerel L. Ellington
Doug Mannal                                       U.S. Department of Justice
Kramer Levin Naftalis & Frankel LLP               Environmental Enforcement Section
1177 Avenue of the Americas                       99918 Street
New York, NY 10036                                South Terrace, Suite 370
                                                  Denver, CO 80202
First Class Mail
(Counsel to Sealed Air Corporation)               First Class Mail
D. J. Baker, Esquire                              )
Skadden, Arps, Slate, Meagher & Flom LLP          Jon L. Heberling, Esquire
Four Times Square                                 McGarvey, Heberling, Sullivan &
New York, NY 10036                                McGarvey PC
                                                  745 South Main Street
First Class Mail                                  Kalispel, MT 59901
)
Todd Meyers, Esquire                              First Class Mail
Kilpatrick Stockton                               (Counsel to DIP Lender)
1100 Peachtree Street, Suite 2800                 David S. Heller, Esquire
Atlanta, GA 30309                                 Latham & Watkins
                                                  Sears Tower, Suite 5800
First Class Mail                                  233 South Wacker Drive
)                                                 Chicago, IL 60606
Office of Reorganization
Securities & Exchange Commission                  First Class Mail
Suite 1000                                        )
3475 Lenox Road, N.E.                             Charles E. Boulbol, Esquire
Atlanta, GA 30326-1232                            26 Broadway, 17th Floor
                                                  New York, NY 10004
First Class Mail
)                                                 First Class Mail
Internal Revenue Service                          )
Attn: Insolvency                                  Ira S. Greene, Esquire
31 Hopkins Plaza, Room 1150                       Hogan & Hartson LLP
Baltimore, MD 21201                               875 Third Avenue
                                                  New York, NY 10022-6225
First Class Mail
)                                                 First Class Mail
Michael A. Berman                                 )
Securities & Exchange Commission                  Steven J. Johnson, Esquire
Office of General Counsel-Bankruptcy              Gibson, Dunn & Crutcher LLP
100 F Street, NE                                  1881 Page Mill Road
Washington, DC 20549                              Palo Alto, CA 94304-1125
          Case 01-01139-AMC        Doc 27771-7       Filed 10/17/11   Page 10 of 24




First Class Mail                                 First Class Mail
)
                                                 (Counsel to Asbestos Claimants)
Charlotte Kienke, Esquire                        Ann Harper, Esquire
Schneider National, Inc.                         Baron & Budd
P.O. Box 2545                                    3102 Oak Lawn Avenue
3101 S. Packerland                               Suite 1100
Green Bay, WI 54306                              Dallas, TX 75219

First Class Mail                                 First Class Mail

David S. Rosenbloom, Esquire                     Alan R. Brayton, Esquire
Jeffrey B. Stone, Esquire                        Brayton & Purcell
Lewis S. Rosenbloom, Esquire                     222 Rush Landing Road
McDermott, Will & Emery                          Novato, CA 94945
227 West Monroe Street
Chicago, IL 60606-5096                           First Class Mail

First Class Mail                                 Jonathan W. Young
)
                                                 Wildman, Harrold, Allen & Dixon
Charles L. Finke, Assistant General Counsel      225 West Wacker Drive, Suite 3000
Brad Rogers, Esquire                             Chicago, IL 60606-1229
Office of the General Counsel
Pension Benefit Guaranty Corp                    First Class Mail
1200 K. Street, N. W.
Washington, D.C. 20005-4026                      Russell W. Budd
                                                 Baron & Budd, P.C.
First Class Mail                                 3102 Oak Lawn Avenue
)
                                                 P.O. Box 8705
Jamie O’Connell                                  Dallas, TX 75219
Blackstone Advisory Partners
345 Park Avenue, 301h Floor                      First Class Mail
New York,NY 10154                                )


                                                 Shelby A. Jordan, Esquire
First Class Mail                                 Nathaniel Peter Holzer. Esquire
                                                 Jordan, Hyden, Womble & Cuibreth, P.C.
Jan M. Hayden                                    500 N. Shoreline Blvd., Suite 900
William H. Patrick                               Corpus Christi, TX 78471
Heller, Draper, Hayden, Patrick & Horn,
L.L.C.                                           First Class Mail
650 Poydras Street, Suite 2500                   )


New Orleans, LA 70130-6103                       The Mills Corporation
                                                 Ontario Mills LP
                                                 Legal Department
                                                 225 W. Washington Street
                                                 Indianapolis, IN 46204-343 5
          Case 01-01139-AMC         Doc 27771-7       Filed 10/17/11   Page 11 of 24



First Class Mail                                  First Class Mail
                                                  Peter Van N. Lockwood, Esquire
T. Kellan Grant                                   Julie W. Davis, Esquire
Wildman, Harrold, Allen & Dixon                   Trevor W. Swett, III, Esquire
225 West Wacker Drive, Suite 3000                 Nathan D. Finch, Esquire
Chicago, IL 60606-1229                            Caplin & Drysdale, Chartered
                                                  One Thomas Circle, N.W.
First Class Mail                                  Washington, DC 20005
)


The Gibson Law Firm, PLLC                         First Class Mail
P.O. Box 6005                                     )


447 Northpark Drive                               Peter A. Chapman
Ridgeland, MS 39157                               572 Fernwood Lane
                                                  Fairless Hills, PA 19030
First Class Mail
                                                  First Class Mail
Bernice Conn, Esquire                             )


Robins, Kaplan, Miller & Ciresi LLP               Paul M. Matheny
2049 Century Park East, Suite 3700                The Law Offices of
Los Angeles, CA 90067                             Peter G. Angelos, P.C.
                                                  210 W. Pennsylvania Avenue, Suite 300
First Class Mail                                  Towson, MD 21204-4546
)


Steven J. Kherkher, Esquire                       First Class Mail
Laurence G. Tien, Esquire                         )


Williams Kherkher Hart & Boundas, LLP             Michael J. Urbis
8441 Gulf Freeway, Suite #600                     Jordan, Hyden, Womble & Culbreth, P.C.
Houston, TX 77017                                 1534 B. 6th Street, Suite 104
                                                  Brownsville, TX 78520
First Class Mail
)
                                                  First Class Mail
Delta Chemical Corporation                        )


2601 Cannery Avenue                               Mary A. Coventry
Baltimore, MD 21226-1595                          Sealed Air Corporation
                                                  200 Riverfront Blvd.
First Class Mail                                  Elmwood Park, NJ 07407-1033
)


Steven T. Hoort, Esquire                          First Class Mail
Ropes & Gray                                      )


Prudential Tower                                  Katherine White
800 Boylston Street                               Sealed Air Corporation
Boston, MA 02199-3600                             200 Riverfront Boulevard
                                                  Elmwood Park, NJ 07407
          Case 01-01139-AMC          Doc 27771-7       Filed 10/17/11   Page 12 of 24



First Class Mail                                   First Class Mail
)                                                  (Counsel to Berry & Berry)
Joseph T. Kremer, Esquire                          C. Randall Bupp, Esquire
Lipsiptz, Green, Fahringer, Roll, Salisbury        Bardelli, Straw & Cavin LLP
& Cambria, LLP                                     2000 Crow Canyon Place, Suite 330
42 Delaware Avenue, Suite 300                      San Ramon, CA 94583
Buffalo, NY 14202
                                                   First Class Mail
First Class Mail
)                                                  Anton Volovsek
Paul D. Henderson, Esquire                         218 E. South Street
Paul D. Henderson, P.C.                            Granyeville, ID 83530
712 Division Avenue
Orange, TX 77630                                   First Class Mail
                                                   (Counsel to Weatherford U.S. Inc., and
First Class Mail                                   Weatherford International Inc.)
)                                                  Peter S. Goodman, Esquire
Elizabeth S. Kardos, Esquire                       Andrews & Kurth LLP
Gibbons P.C.                                       450 Lexington Avenue, 15th Floor
One Gateway Center                                 New York, NY 10017
Newark, NJ 07102-5310
                                                   First Class Mail
First Class Mail                                   )


(Counsel to Public Service Electric and Gas        Jonathan H. Alden, Esquire
Company)                                           Assistant General Counsel
William E. Frese, Esquire                          3900 Commonwealth Boulevard, MS 35
Attn: Sheree L. Kelly, Esquire                     Tallahassee, FL 32399-3000
80 Park Plaza, T513
P.O. Box 570                                       First Class Mail
Newark, NJ 07101                                   )


                                                   State Library of Ohio
First Class Mail                                   do Michelle T. Sutter
(Counsel to Official Committee of                  Revenue Recovery
Unsecured Creditors)                               Office of the Attorney General
William S. Katchen, Esquire                        150 East Gay Street, 23rd Floor
Duane Morris LLP                                   Columbus, OH 43215
744 Broad Street, Suite 1200
Newark, NJ 07102-3889                              First Class Mail
                                                   )


First Class Mail                                   Rosa Dominy
(Counsel to Numerous asbestos claimants)           Bankruptcy Administration
Scott W. Wert, Esquire                             lOS Capital, Inc.
Foster & Sear, LLP                                 1738 Bass Road
817 Greenview Drive                                P.O. Box 13708
Grand Prairie, TX 75050                            Macon, GA 31208-3708
          Case 01-01139-AMC        Doc 27771-7    Filed 10/17/11   Page 13 of 24



First Class Mail                                 First Class Mail
)                                                )
Greif, Inc.                                      Credit Manager
Attn: Credit Department                          Belz Enterprises
366 Greif Parkway                                100 Peabody Place, Suite 1400
Delaware, OH 43015                               Memphis, TN 38103

First Class Mail                                 First Class Mail
(Counsel to SAP America, Inc.)                   )
Stephanie Nolan Deviney                          James P. Ruggeri
Brown & Coimery, LLP                             Scott A. Shail
360 Haddon Avenue                                Shipman & Goodwin LLP
P.O. Box 539                                     1133 Connecticut Avenue, NW
Westmont, NJ 08108                               3rd Floor, Suite A
                                                 Washington, D.C. 20036-4305
First Class Mail
)                                                First Class Mail
Margaret Ann Nolan, County Solicitor             )
Camela Chapman, Senior Assistant County          Daniel H. Slate, Esquire
Solicitor                                        Hughes Hubbard & Reed LLP
Howard County Office of Law                      350 South Grand Avenue
George Howard Building                           Los Angeles, CA 90071-3442
3430 Courthouse Drive, 3id Floor
Ellicott City, MD 21043                          First Class Mail
                                                 )
First Class Mail                                 Andrea L. Hazzard, Esquire
)                                                Hughes Hubbard & Reed LLP
M. Diane Jasinski, Esquire                       One Battery Park Plaza
Michael D. Hess                                  New York, NY 10004-1482
Corporation Counsel of the City of New
York                                             First Class Mail
100 Church Street, Room 6-127                    )
New York, NY 10007                               Authur Stein, Esquire
                                                 1041 W. Lacey Road
First Class Mail                                 P.O. Box 1070
)                                                Forked River, NJ 08731-6070
Janet Napolitano
Robert R. Hall                                   First Class Mail
1275 West Washington Street                      )
Phoenix, AZ 85007-1278                           Robert H. Rosenbaum, Esquire
                                                 M. Evan Meyers, Esquire
                                                 Meyers, Rodbell & Rosenbaum, P.A.
                                                 Berkshire Building
                                                 6801 Kenilworth Avenue, Suite 400
                                                 Riverdale, MD 20737-1385
          Case 01-01139-AMC      Doc 27771-7       Filed 10/17/11   Page 14 of 24




First Class Mail                               First Class Mail
)                                              )


Cohn D. Moore                                  Robert Cimino, Esquire
Provost & Umphrey                              Suffolk County Attorney
Law Firm, L.L.P.                               Attn: Diane Leonardo Beckmann, AsStreet
490 Park Street                                County
Beaumont, TX 77704                             H. Lee Dennison Building
                                               100 Veterans Memorial Highway
First Class Mail                               P.O. Box 6100
)
                                               Hauppauge, NY 11788-0099
Kevin James
Deputy Attorney General                        First Class Mail
1515 Clay Street, 20th Floor                   (Counsel to Dow Chemical Company,
Oakland, CA 94612-1413                         Hampshire Chemical Corporation and Union
                                               Carbide Corporation)
First Class Mail                               Kathleen Maxwell
)
                                               Legal Department
Dorine Vork, Esquire                           The Dow Chemical Company
Stibbe, P.C.                                   2030 Dow Center/Office 732
489 Fifth Avenue, 32nd Floor                   Midland, MI 48674
New York, NY 10017
                                               First Class Mail
First Class Mail                               (The Dow Chemical Company)
)
                                               Anne Marie P. Kelley, Esquire
Suexirda Prayaga                               Dilworth Paxson, LLP
7365 MacLeod Lane                              Liberty View - Suite 700
Ofallon, MO 63366                              457 Haddonfield Road
                                               Cherry Hill, NJ 08002
First Class Mail
)
                                               First Class Mail
Bart Hartman                                   (Counsel to General Electric Capital
Treasurer - Tax Collector                      Corporation)
Attn: Elizabeth Molina                         Ronald S. Beacher, Esquire
1600 Pacific Highway, Room 162                 Pitney, Hardin, Kipp & Szuch LLP
San Diego, CA 92101                            7 Times Square
                                               New York, NY 10036-6524
First Class Mail
)
                                               First Class Mail
David Aelvoet, Esquire                         )


Linebarger Goggan Blair Graham Pena &          Gina Baker Hantel, Esquire
Sampson, LLP                                   Attorney General Office
Travis Park Plaza Building                     Bankruptcy Division
711 Navarro, Suite 300                         State of Tennessee
San Antonio, TX 78205                          425 5th Avenue North, Floor 2
                                               Nashville, TN 37243
          Case 01-01139-AMC          Doc 27771-7       Filed 10/17/11   Page 15 of 24



First Class Mail                                   First Class Mail
)                                                  (Counsel to Wells Fargo Bank Minnesota,
Robert M. Horkovich, Esquire                       National Association)
Anderson, Kill & Olick, P.C.                       Craig Barbarosh, Esquire
1251 Avenue of the Americas                        Pillsbury Winthrop LLP
New York, NY 10020-1182                            650 Town Center Drive, Suite 700
                                                   Costa Mesa, CA 92626-7122
First Class Mail
)                                                  First Class Mail
Attn: Ted Weschler                                 (Counsel to Aldine Independent School
Peninsula Capital Advisors, L.L.C.                 District)
404 East Main Street, Second Floor                 Aldine Independent School District
Charlottesville, VA 22902                          Jonathan C. Hantke, Esquire
                                                   Pamela H. Walters, Esquire
First Class Mail                                   14910 Aldine-Westfield Road
)                                                  Houston, TX 77032
E. Katherine Wells, Esquire
South Carolina Department of Health and            First Class Mail
Environmental Control                              )


2600 Bull Street                                   DAP Products, Inc.
Columbia, SC 29201-1708                            do Julien A. Hecht, Esquire
                                                   2400 Boston Street, Suite 200
First Class Mail                                   Baltimore, MD 21224
)


James M. Garner, Esquire                           First Class Mail
Sher Garner Cahill Richter Klein & Hubert,         (Counsel to Asbestos Claimants)
L.L.C.                                             Deirdre Woulfe Pacheco, Esquire
909 Poydras Street, Suite 2800                     Wilentz, Goldman & Spitzer
New Orleans, LA 70112-1033                         90 Woodbridge Center Drive
                                                   P.O. Box 10
First Class Mail                                   Woodbridge, NJ 07095
)



William H. Johnson, Esquire                        First Class Mail
Norfolk Southern Corporation                       (Counsel to Occidental Permian, Ltd.)
Law Department                                     John W. Havins, Esquire
Three Commercial Place                             Havins & Associates PC
Norfolk, VA 23510-9242                             2211 Norfolk, Suite 525
                                                   Houston, TX 77098
First Class Mail
(Counsel to Wells Fargo Bank Minnesota,            First Class Mail
National Association)                              (Counsel to Fireman’s Fund Insurance
Pillsbury Winthrop LLP                             Company)
1540 Broadway #9                                   Leonard P. Goldberger, Esquire
New York, NY 10036-4039                            Stevens & Lee, P.C.
                                                   1818 Market Street, 291h Floor
                                                   Philadelphia, PA 19103-1702
          Case 01-01139-AMC           Doc 27771-7    Filed 10/17/11      Page 16 of 24




First Class Mail                                    First Class Mail
(Counsel to Anderson Memorial Hospital)             (Zonolite Attic Litigation Plaintiffs)
Daniel A. Speights, Esquire                         Elizabeth J. Cabraser, Esquire
Speights & Runyan                                   Lieff, Cabraser, Heimann & Bernstein, LLP
200 Jackson Avenue, East                            Embacadero Center West, 30th Floor
P.O. Box 685                                        275 Battery Street
Hampton, SC 29924                                   San Francisco, CA 94111

First Class Mail                                    First Class Mail
                                                    (Zonolite Attic Litigation Plaintiffs)
Donna J. Petrone, Esquire                           Thomas M. Sobol, Esquire
ExxonMobil Chemical Company                         Hagens Berman Sobol Shapiro
Law Department - Bankruptcy                         55 Cambridge Parkway, Suite 301
13501 Katy Freeway, Room W1-562                     Cambridge, MA, 02142
Houston, TX 77079-1398
                                                    First Class Mail
First Class Mail                                    (Zonolite Attic Litigation Plaintiffs)
(Counsel to Potash Corp.)                           Robert M. Fishman, Esquire
David W. Wirt, Esquire                              Shaw Gussis Domanskis Fishman & Glantz
Winston & Strawn                                    321 N. Clark Street, Suite 800
35 West Wacker Drive                                Chicago, Illinois 60610
Chicago, IL 60601
                                                    First Class Mail
First Class Mail
(Counsel for Reaud, Morgan & Quinn, Inc.            Edward H. Tillinghast, III, Esquire
and Environmental Litigation Group, PC)             Sheppard, Mullin, Richter & Hampton LLP
Sander L. Esserman, Esquire                         Twenty-fourth Floor, 30 Rockefeller Plaza
Robert T. Brousseau, Esquire                        New York, NY 10112
Van J. Hooker, Esquire
Stutzman Bromberg, Esserman & Plifka PC             First Class Mail
2323 Bryan Street, Suite 2200                       (Counsel to Marco Barbanti)
Dallas, TX 75201                                    Darrell W. Scott
                                                    The Scott Law Group
First Class Mail                                    926 W. Sprague Avenue, Suite 680
Glen W. Morgan, Esquire                             Spokane, WA 99201-5071
Reaud, Morgan & Quinn, Inc.
801 Laurel                                          First Class Mail
Beaumont, TX 77701                                  (The Baupost Group LLC)
                                                    Gary M. Becker, Esquire
First Class Mail                                    Kramer Levin Naftalis & Frankel LLP
(Counsel to Huntsman Corporation)                   1177 Avenue of the Americas
Randall A. Rios                                     New York, NY 10036
Floyd, Isgur, Rios & Wahrlich, P.C.
700 Louisiana, Suite 4600
Houston, TX 77002
          Case 01-01139-AMC            Doc 27771-7       Filed 10/17/11   Page 17 of 24



First Class Mail
(Attorney General of PA(Commonwealth of              First Class Mail
PA, Dept. of Revenue)                                (Georgia Department of Revenue)
Christopher R. Momjian                               Oscar B. Fears, III
Senior Deputy Attorney General                       Office of the Attorney General
I.D.No. 057482                                       40 Capitol Square, SW
Office of Attorney General                           Atlanta, GA 30334
21 S. 12 Street, 3Road Floor
Philadelphia, PA 19107-3603                          First Class Mail

First Class Mail                                     Philip J. Ward
)                                                    Victoria Radd Rollins
Denise A.KUhII                                       Williams & Connolly LLP
Office of Attorney General                           725 Twelfth Street NW
21 S. 12’Street, 3rd Floor                           Washington, DC 20005
Philadelphia, PA 19107-3603
                                                     First Class Mail
First Class Mail                                     )


(W.C. Baker, E.E. Jaques, B.H. Miller, M.R.          Larry A. Feind
Fisher, S.R. Ormsbee, M. Rea and the Fisher          133 Peachtree Street, N.E., 7th Floor
Trust)                                               Atlanta,GA 30303
Richard B. Specter, Esquire
Corbett, Steelman & Specter                          First Class Mail
18200 Von Karman Avenue, Suite 900                   (Counsel to County Of Dallas)
Irvine, CA 92612                                     Elizabeth Weller
                                                     Linebarger Goggan Blair & Sampson, LLP
First Class Mail                                     2323 Bryan Street, Suite 1720
William A. Grubbs, Jr.                               Dallas, TX 75201-2691
Southeat Region Assistant Controller
AON Consulting Inc.                                  First Class Mail
1100 Reynolds Boulevard                              (Counsel to Travelers Casualty and Surety
Winston-Sale, NC 27105                               Company)
                                                     Lynn K. Neuner, Esquire
First Class Mail                                     Simpson, Thacher, & Bartlett
)                                                    425 Lexington Avenue
Michael Selig                                        New York, NY 10017-3954
Westover Investments, L.L.C.
555 Old Garth Road                                   First Class Mail
Charlottesville, VA 22901                            (Counsel to Kaneb Pipe Line Operating
                                                     Partnership LP and Support Terminal
First Class Mail                                     Services, Inc.)
(Hearthside Residential Corp.)                       Gerald G. Pecht, Esquire
Allan H. Ickowitz, Esquire                           Fuibright & Jaworski, LLP
Nossaman, Guthner, Knox & Elliott, LLP               1301 McKinney, Suite 5100
445 South Figueroa Street, 31St Floor                Houston, TX 77010-3095
Los Angeles, CA 90071
          Case 01-01139-AMC          Doc 27771-7    Filed 10/17/11    Page 18 of 24



First Class Mail                                   First Class Mail
)
                                                   (Counsel to The Burlington Northern and
Jonathan D. Berger, Esquire                        Santa Fe Railway Company)
Russell Henkin, Esquire                            Richard A. O’Halloran, Esquire
Berger & Montague, P.C.                            Bums, White & Hickton, LLC
1622 Locust Street                                 100 Four Falls, Suite 515
Philadelphia, PA 19103-6365                        1001 Conshohocken State Road
                                                   West Conshohocken, PA 19428
First Class Mail
(Counsel to Novak Landfill RD/RA Group)            First Class Mail
Richard G. Placey, Esquire                         (Counsel to Westcor)
Montgomery, McCracken, Walker &                    Don C. Fletcher, Esquire
Rhoads LLP                                         The Cavanagh Firm, P.A.
123 South Broad Street                             1850 North Central Avenue, Suite 2400
Avenue of the Arts                                 Phoenix, AZ 85004
Philadelphia, PA 19109
                                                   First Class Mail
First Class Mail                                   (Carteret Venture)
)
                                                   Mr. Harvey Schultz
DACA V, LLC                                        The Schultz Organization
Attn: Julie Bubnack                                4 Woods End
1565 Hotel Cir 5, Ste 310                          Ocean, NJ 07712-4181
San Diego, CA 92108-3419
                                                   First Class Mail
First Class Mail                                   (Counsel to State of New York, Dept. of
(Counsel to Lawson Electric Co.)                   Taxation and Finance)
Ronald D. Gorsline                                 Barbara G. Billet, Esquire
Chambliss, Balmer, & Stophel, P.C.                 Elaine Z. Cole, Esquire
1000 Tallan Building, Suite 1000                   NY State Department of Taxation & Finance
Two Union Square                                   340 E. Main Street
Chattanooga, TN 37402-2552                         Rochester, NY 14604

First Class Mail                                   First Class Mail
(Counsel to County of San Diego)                   (Special Counsel to Debtors)
Martha E. Romero, Esquire                          James J. Restivo, Esquire
6516 Bright Avenue                                 Reed Smith LLP
Whittier, CA 90601-4503                            225 Fifth Avenue, Suite 1200
                                                   Pittsburgh, PA 15222-2716
First Class Mail
(Counsel to National Union Fire Insurance          First Class Mail
Co. of Pittsburgh, PA)                             (Counsel to Certain Underwriters at Lloyd’s
Michael S. Davis, Esquire                          London)
Zeichner Eliman & Krause                           Thomas J. Quinn, Esquire
575 Lexington Avenue, 10 th Floor                  Mendes & Mount, LLP
New York, NY 10022                                 750 Seventh Avenue
                                                   New York, NY 10019-6829
            Case 01-01139-AMC             Doc 27771-7       Filed 10/17/11   Page 19 of 24




                                                        First Class Mail
First Class Mail                                        (Counsel to Royal Insurance)
(Counsel to the State of Minnesota)                     Carl Pericone, Esquire
Ann Beimdiek Kinsella                                   Wilson, Elser, Moskowitz, Edelman, Dicker
Assistant Attorney General                              LLP
445 Minnesota Street, Suite 1200                        150 East 42nd Street
Street Paul, MN 55101-2127                              New York, NY 10017-5639

First Class Mail                                        First Class Mail
(Counsel to Union Tank Car Company)                     (Counsel to Cornell University)
Deborah L. Thorne, Esquire                              Anthony F. Parise
FabelHaber LLC                                          Cornell University
55 East Monroe Street, 40 th Floor                      Office of University Counsel
Chicago, IL 60603                                       300 CCC Building, Garden Avenue
                                                        Ithaca.-NY 14853-2601
First Class Mail
)                                                       First Class Mail
Brad N. Friedman                                        (Counsel to the Libby Mine Claimants)
Rachel Fleishman                                        Daniel C. Cohn, Esquire
Milberg Weiss Bershad Hynes & Lerach                    Murtha Cullina, LLP
LLP                                                     99 High Street, 201h Street
One Pennsylvania Plaza                                  Boston, MA 02110
New York, NY 10119-0165
                                                        First Class Mail
First Class Mail                                        (Counsel to Town of Acton, MA)
(Counsel to Ben Bolt-Palito-Blanco ISD, Brownsville     Thomas 0. Bean
ISD, Cameron County, Hildalgo County, Orange            Verrill Dana LLP
Grove, Orange Grove ISD, Premont ISD)
Lori Gruver Robertson, Esquire                          One Boston Place
                                                        Suite 2330
Linebarger Goggan Blair Pena & Sampson,
LLP                                                     Boston, MA 02108
1949 South I.H. 35 (78741)
P.O. Box 17428                                          First Class Mail
Austin, TX 78760                                        )


                                                        Contrarian Capital Trade Claims LP
First Class Mail                                        Attn: Alisa Minsch
                                                        411 W. Putnam Avenue S-225
(Counsel to James Grau, Anna Grau and
Harry Grau & Sons, Inc.)                                Greenwich, CT 06830-6263
Edward L. Jacobs, Esquire
Bankemper & Jacobs                                      First Class Mail
The Shaw House                                          )




26 Audubon Place                                        Debt Acquisition Co of America V LLC
P.O. Box 70                                             1565 Hotel Cir 5, Suite 310
Fort Thomas, KY 41075-0070                              San Diego, CA 92108-3419
          Case 01-01139-AMC         Doc 27771-7       Filed 10/17/11     Page 20 of 24




First Class Mail                                  First Class Mail
                                                  (Counsel to David Austem, the Future
Longacre Master Fund Ltd.                         Claimants’ Representative)
do Robert W. Hiatt, Esquire                       Roger Frankel, Esquire
115 Ridge Avenue                                  Richard H. Wyron, Esquire
Staten Island, NY 10304                           Orrick, Herrington & Sutcliffe LLP
                                                  Columbia Center
First Class Mail                                  1152 15 ’Street, N.W.
)
                                                  Washington, DC 20005-1706
Sierra Asset Management LLC
2699 White Road, Suite 225                        First Class Mail
Irvine, CA 92614-6264                             )


                                                  Lauren Holzman
First Class Mail                                  Claims Processor
(Counsel for State Street Global Advisors)        Euler Hermes ACI
Daniel M. Glosband, P.C.                          800 Red Brook Boulevard
Goodwin Procter LLP                               Owings Mills, MD 21117
Exchange Place
Boston, MA 02109                                  First Class Mail
                                                  (Counsel to Keri Evans, on behalf of herself and all
First Class Mail                                  others similarly situated as Plaintiff in ERISA
                                                  litigation, Civil Action No. 04-11380)
)
                                                  Michael S. Etkin, Esquire
John Preefer
                                                  Ira M. Levee, Esquire
128 Willow St Apt 6B
                                                  Lowenstein Sandler PC
Brooklyn, NY 11201
                                                  65 Livingston Avenue
                                                  Roseland, NJ 07068
First Class Mail
                                                  First Class Mail
Michael B. Schaedle, Esquire
                                                  (Counsel to Charlotte Transit Center, Inc.)
Blank Rome LLP
                                                  Amy Pritchard-Williams, Esquire
One Logan Suare
                                                  Margaret R. Westbrook, Esquire
130 North 18 Street
                                                  Kennedy Covington Lobdell & Hickman,
Philadelphia, PA 19103
                                                  LLP
                                                  Hearst Tower, 47th Floor
First Class Mail
                                                  214 N. Tryon Street
)
                                                  Charlotte, NC 28202
Peter B. McGlynn, Esquire
Bruce D. Levin, Esquire
                                                  First Class Mail
Bemkopf Goodman LLP
                                                  (Counsel to Ancel Abadic and 410
125 Summer Street, Suite 1300
                                                  additional claimants)
Boston, MA 02110
                                                  Julie Ardoin, Esquire
                                                  Julie Ardoin, LLC
                                                  2200 Veterans Memorial Blvd.,
                                                  Suite 210
                                                  Kenner, LA 70062-4032
           Case 01-01139-AMC             Doc 27771-7    Filed 10/17/11      Page 21 of 24




First Class Mail                                       First Class Mail
(Counsel to Allstate Insurance Company)                (Counsel to American Employers Insurance Co,
Stefano Calogero, Esquire                              Employers Commercial Union n/k/a OneBeacon A
                                                       (Counsel to American Employers Insurance Co,
Andrew K. Craig, Esquire                               Employers Commercial Union n/k/a OneBeacon
Windels Marx Lane & Mittendorf, LLP                    America Insurance Co and Unigard Insurance Co)
One Giralda Farms - Suite 380                          Michael F. Brown, Esquire
Madison, NJ 07940                                      Drinker Biddle & Reath LLP
                                                       One Logan Square
First Class Mail                                       18 th & Cherry Streets
(Counsel to Everest Reinsurance Company                Philadelphia, PA 19103-6996
and Mt. McKinley Insurance Company)
Mark D. Plevin, Esquire                                First Class Mail
Leslie A. Epley, Esquire                               (Counsel to U.S. Fire Insurance Company)
Crowell & Moring LLP                                   Harry Lee, Esquire
1001 Pennsylvania Avenue, N.W.                         Steptoe & Johnson LLP
Washington, DC 20004-2595                              1330 Connecticut Avenue, NW
                                                       Washington, DC 20036
First Class Mail
(Counsel to The Van Cott, Bagley, Cornwall             First Class Mail
& McCarthy 401(K) Profit Sharing Plan)                 (Counsel to American Premier
J. Robert Nelson, Esquire                              Underwriters, Inc.)
Van Cott, Bagley, Cornwall & McCarthy                  Matthew J. Siembieda, Esquire
36 South State Street, Suite 1900                      Benjamin G. Stonelake, Esquire
Salt Lake City, Utah 84111                             Scott E. Coburn, Esquire
                                                       Blank Rome LLP
First Class Mail                                       One Logan Suare
(Counsel to Claimants, American Legion, Catholic       130 North 18 t Street
Diocese of Little Rock, City of Barnesville, Cherry
Hill Plaza, Church of the Most Holy Redeemer,
                                                       Philadelphia, PA 19103
Church of Street Joseph, Church of Street Luke,
Church of Street Helena, Church of Street Leo the      First Class Mail
Great, First United Methodist Church, Fargo Housing    (Transfer Agent)
Authority, Alvin Foss, State of Washington and Port    DK Acquisition Partners
                                                       65 East 55th Street, 19th Floor
of Seattle)
Fredrick Jekel, Esquire
                                                       New York, NY 10022
Motley Rice LLC
28 Bridgeside Blvd.,
                                                       First Class Mail
Mt. Pleasant, SC 29464
                                                       (Transfer Agent)
                                                       Fred Glass
                                                       Fair Harbor Capital LLC
                                                       1841 Broadway, Suite 1007
                                                       New York, NY 10023
           Case 01-01139-AMC          Doc 27771-7       Filed 10/17/11   Page 22 of 24




First Class Mail
(Counsel to Macerich Fresno LP)                     First Class Mail
M. David Minnick, Esquire                           )


Michael P. Ellis, Esquire                           Jeffrey S. Hebrank, Esquire
Pillsbury Winthrop Shaw Pittman LLP                 Carl P. McNulty, II, Esquire
50 Fremont Street                                   Burroughs, Hepler, Broom, MacDonald,
San Francisco, CA 94105-2228                        Hebrank & True, LLP
                                                    103 West Vandalia Street, Suite 300
First Class Mail                                    Edwardsville, IL 62025-0510
(Counsel to Macerich Fresno LP)
Gerald F. George, Esquire                           First Class Mail
Pillsbury Winthrop Shaw Pittman LLP                 (Counsel to The Prudential Insurance
50 Fremont Street                                   Company of America)
San Francisco, CA 94105-2228                        Joseph L. Schwartz, Esquire
                                                    Curtis M. Plaza, Esquire
First Class Mail                                    Craig T. Moran, Esquire
(Counsel to HRCL and Eaves)                         Riker Danzig Scherer Hyland & Perretti
Joseph D. Frank, Esquire                            LLP
Frank/Gecker LLP                                    Headquarters Plaza
325 North LaSalle Street, Suite 625                 One Speedwell Avenue
Chicago, IL 60610                                   Morristown, NJ 07962-1981

First Class Mail                                    First Class Mail
(Counsel to all clients of the Robles law           (Counsel to State of California, Dept. of
firm)                                               General Svcs)
David Jagolinzer, Esquire                           Steven J. Mandelsberg, Esquire
Ferraro & Associates, P.A.                          Christina J. Kang, Esquire
4000 Ponce de Leon Blvd., Suite 700                 Hahn & Hessen LLP
Miami, FL 33146                                     488 Madison Avenue
                                                    New York, NY 10022
First Class Mail
(Counsel to PacifiCorp)                             First Class Mail
Steven J. McCardell, Esquire                        (Counsel to Dies & Hile LLP)
Jared Inouye, Esquire                               Pryor Cashman LLP
Durham Jones & Pinegar                              Richard Levy, Jr., Esquire
111 E. Broadway, Suite 900                          7 Times Square
Salt Lake City, UT 84111                            New York, NY 10036-6569

First Class Mail                                    First Class Mail
(Counsel to the Ad Hoc Committee of                 (Counsel to Citicorp Del-Lease, Inc. dlb/a
Equity Security Holders)                            Citicorp Dealer Finance)
Martin J. Bienenstock, Esquire                      Sergio I. Scuteri, Esquire
Judy G.Z. Liu, Esquire                              Capehart & Scatchard, P.A.
Weil, Gotshal & Manges LLP                          8000 Midlantic Drive, Suite 300 S
767 Fifth Avenue                                    Mount Laurel, NJ 08054
New York, NY 10153
          Case 01-01139-AMC            Doc 27771-7    Filed 10/17/11    Page 23 of 24




First Class Mail                                     First Class Mail
)
                                                     (Counsel to Hon. Alex. M. Sanders Jr.,
Drive Anthony Pilavas                                PDFCR)
25-09 31st Avenue                                    Alan B. Rich
Astoria, NY 11106                                    Attorney and Counselor
                                                     4244 Renaissance Tower
First Class Mail                                     1201 Elm Street
(Counsel for Personal Injury Claimants)              Dallas, TX 75270
Hal Pitkow, Esquire
The Falls at Lambertville                            First Class Mail
351 South Main Street                                (Counsel to Anderson Mem. Hosp.)
Lambertville, NJ 08530                               John W. Kozyak, Esquire
                                                     Charles W. Throckmorton, Esquire
First Class Mail                                     David L. Rosendorf, Esquire
Brian D. Salwowski, Esquire                          Corali Lopez-Castro, Esquire
Office of Attorney General                           Kozyak Tropin & Throckmorton, P.A.
Indiana Gov. Center South, 5th Floor                 2525 Ponce de Leon, 9th Floor
302 West Washington Street                           Coral Gables, FL 33134
Indianapolis, IN 46204-2770
                                                     First Class Mail
First Class Mail                                     (Counsel to Anderson Mem. Hosp.)
(Counsel to ZAI)                                     Harley E. Riedel, Esquire
Edward J. Westbrook, Esquire                         Stichter Riedel Blain & Prosser, P.A.
Richardson Patrick Westbrook & Brickman              110 E. Madison Street, Suite 200
1037 Chuck Dawley Blvd. - Bldg A                     Tampa, FL 33602
Mount Pleasant, SC 29464
                                                     First Class Mail
First Class Mail                                     Kevin Welch, Esquire
(Counsel to The Scotts Company LLC)                  Office of General Counsel
Robert J. Sidman, Esquire                            Division of Waste Management
Tiffany Strelow Cobb, Esquire                        200 Fair Oaks Lane, First Floor
Vorys, Sater, Seymour and Pease LLP                  Frankfort, KY 40601
52 East Gay Street
Columbus, OH 43215                                   First Class Mail
                                                     (Co-Counsel to Travelers Casualty)
First Class Mail                                     Samuel J. Rubin, Esquire
(Counsel to Arrowood Indemnity Company)              Simpson Thacher & Bartlett LLP
Brad Elias, Esquire                                  425 Lexington Avenue
O’Melveny & Myers, LLP                               New York, NY 10017
Times Square Tower
7 Times Square                                       First Class Mail
New York, NY 10036                                   (Counsel to Samson Hydrocarbons)
                                                     Greg A. Lawry, Esquire
                                                     Locke Lord Bissell & Liddell, LLP
                                                     2200 Ross Avenue, Suite 2200
                                                     Dallas, TX 75201
          Case 01-01139-AMC           Doc 27771-7    Filed 10/17/11   Page 24 of 24




                                                    First Class Mail
First Class Mail                                    (Counsel to Plum Creek)
(Counsel to US Dept of Agriculture)                 John P. Knapp, Jr.
Michael R. Sew Hoy                                  Miller Nash LLP
U.S. Dept of Justice-Civil Division                 4400 Two Union Square
Commercial Litigation Branch                        601 Union Street
1100 L Street, NW - 10 ’Floor                       Seattle, WA 98101-2352
Room 10048
Washington, DC 20005                                First Class Mail
                                                    (Counsel to Defendant BNSF Railway
First Class Mail                                    Company)
(Counsel to Wausau and National Casualty)           Nina M. Varughese, Esq.
Patrick J. Feeley, Esquire                          Edward C. Toole, Jr., Esq.
Cecilie Howard, Esquire                             Linda J. Casey, Esq.
Dorsey & Whitney LLP                                Pepper Hamilton, LLP
250 Park Avenue                                     3000 Two Logan Square
New York, NY 10177                                  Eighteenth and Arch Streets
                                                    Philadelphia, PA 19103-2799
First Class Mail
(Counsel to Wachovia)                               First Class Mail
Stephen B. Gunn, Esquire                            (Counsel Toyota Motor Credit Corp)
Moore & Van Allen PLLC                              Scott D. Fink, Esquire
100 North Tryon Street, Suite 4700                  Weitman, Weinberg & Reis Co., L.P.A.
Charlotte, NC 28202                                 Lakeside Place, Suite 200
                                                    323 W. Lakeside Avenue
First Class Mail                                    Cleveland, OH 44113-1099
(Counsel to Neutocrete Products, Inc.
Stamatios Stamoulis, Esquire                        First Class Mail
Richard C. Weinblatt, Esquire                       (Counsel to Gloria Munoz)
Stamoulis & Weinblatt LLC                           Anthony Petru, Esquire
Two Fox Point Centre                                Quynh L. Nguyen, Esquire
6 Denny Road, Suite 307                             Hildebrand McLeod & Nelson LLP
Wilmington, DE 19809                                350 Frank H. Ogawa Plaza, 4th Floor
                                                    Oakland, CA 94612
First Class Mail
(Counsel to SimmonsCooper Claimants)
Lauren M.Webb, Esquire
Simmons Browder Gianaris
Angelides & Bamerd LLC
707 Berkshire Boulevard
P.O. Box 521
East Alton, IL 62024
